                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

 COLBY L. BEAL
 individually and on behalf of
 all others similarly situated,

                            Plaintiff,
                                                         Case No.: 2:18-cv-4028
 vs.

 OUTFIELD BREW HOUSE, LLC
 d/b/a BUDWEISER BREW HOUSE                              JURY TRIAL DEMANDED
 Serve at Registered Agent:
     CSC-Lawyers Incorporating Service
     Company
     221 Bolivar Street
     Jefferson City, MO 65101

                            Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Colby Beal, individually and on behalf of all others similarly situated, brings this

action against Defendant Outfield Brew House, LLC d/b/a Budweiser Brew House (“Brew

House”) to secure redress for Brew House’s practice of sending text messages to cellular telephone

numbers in violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §§ 227, et

seq. Plaintiff, for his class action complaint, alleges as follows based upon personal knowledge as

to himself and his own acts and experiences, and as to all other matters, upon information and

belief, including investigation conducted by counsel:

                              PARTIES, JURISDICTION, AND VENUE

       1.       At all times relevant hereto, Plaintiff Beal has been a resident of Boone County,

Missouri.

       2.       Defendant Brew House is a Missouri limited-liability company with its principal




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place of business at 601 Clark Street, Suite C, St. Louis, Missouri 63102.

        3.       Defendant Brew House can be served through its registered agent CSC-Lawyers

Incorporating Service Company, 221 Bolivar Street, Jefferson City, Missouri 65101.

        4.       This Court has federal question subject matter jurisdiction over this TCPA action

pursuant to 28 U.S.C. § 1331. See Mims v. Arrow Financial Services, Inc., 132 S. Ct. 740 (2012).

        5.       The Court has personal jurisdiction over Brew House and venue is appropriate in

this district pursuant to 28 U.S.C. § 1391(b)(2), because Brew House sent unlawful text messages

to a resident of this district.

        6.       On information and belief, Brew House has sent the same or similar text messages

complained of by Plaintiff to others within this judicial district, such that a substantial portion of

the events giving rise to this cause of action occurred here.

        7.       In addition, Brew House also transacts significant amounts of business within this

district, solicits customers here, directs telephone calls and text messages here – including to the

cellular telephone numbers of Plaintiff and others with area codes specific to central Missouri,1

and enters into consumer and business contracts here, thereby subjecting it to the jurisdiction of

this Court.

                                      NATURE OF THE ACTION

        8.       Brew House is a sports bar.

        9.       Within the last four years, in order advertise and market its products and services,

to expand its customer base, and to pursue other marketing objections, Brew House caused

advertising and/or telemarketing text messages to be sent to the cellular telephones of Plaintiff and


1
        See Lowe v. CVS Pharmacy, Inc., 233 F. Supp. 3d 636, 643 (N.D. Ill. 2017) (placing a call to a
        phone number with an Illinois-affiliated area code constitutes “purposeful direction” warranting
        the Court’s exercise of jurisdiction) (citing Keim v. ADF Midatlantic, 199 F. Supp. 3d 1362, 1370
        (S.D. Fl. 2016) (collecting cases)).

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the putative class members in violation of the TCPA.

        10.     Specifically, Brew House (either directly or through a third-party telemarketer) sent

unsolicited text messages to the cellular telephones of Plaintiff and the putative class members

promoting specials and events at the Brew House, and encouraging Plaintiff and the putative class

members to visit Brew House with their friends or associates.

        11.     By sending the text messages at issue in this Complaint, Brew House has caused

Plaintiff and the putative class members (as defined herein) actual harm.

        12.     On information and belief, Brew House routinely sends these text messages despite

the fact that Plaintiff and the putative class members:

                (a)    never provided prior express consent in writing, or otherwise, for Brew

                       House to send advertising or telemarketing text messages to their cellular

                       telephone numbers; and/or

                (b)    never provided prior express consent in writing, or otherwise, for Brew

                       House to send text messages to their cellular telephone numbers using an

                       automatic telephone dialing system (as defined by the TCPA).

        13.     Brew House also sent such text messages to Plaintiff and other putative class

members even though they have registered their telephone numbers on the national do-not-call

registry.

        14.     Plaintiff, on his own behalf and on behalf of all others similarly situated, brings the

instant lawsuit seeking an injunction requiring Brew House to cease all unsolicited text message

activities and an award of statutory damages to Plaintiff and members of the putative class under

the TCPA.




                                                  3
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                    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                                47 U.S.C. §§ 227, et seq.

       15.     Advancements in telephone dialing technology since the 1980s and 90s have made

reaching a large number of consumers by telephone easier and more cost-effective. However, this

technology has also brought with it an onslaught of unsolicited robocalls, spam text messages, and

junk faxes that intrude on individual privacy and waste consumer time and money.

       16.     Senator Hollings, sponsor of the TCPA, described such marketing practices as “the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at night;

they force the sick and elderly out of bed; they hound us until we want to rip the telephone out of

the wall.” 137 Cong. Rec. 30, 821 (1990).

       17.     The FCC recently noted, “every month, U.S. consumers are bombarded by an

estimated 2.4 billion robocalls.” In the Matter of Advanced Methods to Target and Eliminate

Unlawful Robocalls, Notice of Proposed Rulemaking, Statement of Chairman Pai, 32 FCC Rcd.

2306, 2331 (2017) (emphasis added). That number has since increased to an estimated 2.5 billion

robocalls per month as of October 2017.2

       18.     In response to these unwanted telephone calls, text messages, and junk faxes, the

federal government and numerous states have enacted legislation to combat these widespread

telemarketing abuses. As Congress recognized:

               Many customers are outraged over the proliferation of intrusive,
               nuisance calls to their homes from telemarketers. … Banning such
               automated or prerecorded telephone calls to the home, except when
               the receiving party consents to receiving the call or when such calls
               are necessary in an emergency situation affecting the health and
               safety of the consumer, is the only effective means of protecting

2
       See In the Matter of Advanced Methods to Target and Eliminate Unlawful Robocalls, Report and
       Order and Further Notice of Proposed Rulemaking, Statements of Commissioners Clyburn and
       Rosenworcel, 32 FCC Rcd. 9706, 9756 & 9759 (2017).



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               telephone consumers from this nuisance and privacy invasion.

Pub. L. No. 102-243 §§ 2(6) & (12) (1991), codified at 47 U.S.C. § 227 (emphasis added).3

       19.     As is relevant here, the TCPA prohibits “mak[ing] any call (other than a call made

for emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service, …” 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R.

§ 64.1200(a)(1).

       20.     For purposes of the TCPA, “[a] text message to a cellular telephone … qualif[ies]

as a ‘call’ within the compass of § 227(b)(1)(A)(iii).” Campbell-Ewald Co. v. Gomez, 136 S. Ct.

663, 667 (2016) (citation omitted).4

       21.     “Automatic telephone dialing system” (“ATDS”) refers to any equipment that has

the “capacity to dial numbers without human intervention[.]” Griffith v. Consumer Portfolio Serv.,

Inc., 838 F. Supp. 2d 723, 726 (N.D. Ill. 2011) (citing In re Rules & Regulations Implementing the

TCPA of 1991, 18 FCC Rcd. 14014, 14092, ¶ 132 (2003) (“2003 TCPA Order”)).

       22.     In 2012, the FCC – the agency tasked with promulgating the implementing

regulations of the TCPA – revised its TCPA rules to require prior express written consent before

initiating a telephone call “that includes or introduces an advertisement or constitutes

telemarketing[.]” 47 C.F.R. § 64.1200(a)(2); In re Joint Petition filed by Dish Network, LLC, 28




3
       See also Zean v. Fairview Health Servs., 858 F.3d 520, 522-23 (8th Cir. 2017) (“Recognizing that
       automated calls are often a nuisance and an invasion of privacy, Congress passed the TCPA to
       balance individuals’ privacy rights, public safety interests, and commercial freedoms of speech and
       trade.”) (internal citations and quotation marks omitted).
4
       See also In re Rules and Regulations Implementing the Telephone Consumer Protection Act of
       1991, Order, 30 FCC Rcd. 12484, 12485, ¶ 3 (2016) (the TCPA’s prohibition on robocalls
       “encompasses both voice and text calls, including short message service (SMS) calls and text calls
       and text calls made using Internet-to-phone technology, …”).

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FCC Rcd. 6574, 6589, ¶ 37 & fn. 113 (2013).

       23.     According to FCC regulations, “prior express consent” must (i) be in writing; (ii)

be signed by the person providing the consent; (iii) clearly authorize the calling party to use an

ATDS or artificial or pre-recorded voice; (iv) specify the telephone number to which the person is

consenting to be called; and (v) not be a condition of purchasing any goods or services. In the

Matter of Rules and Regulations Implementing the TCPA of 1991, FCC Report and Order, 27 FCC

Rcd. 1830, 1843, ¶ 32 (2012) (“2012 TCPA Order”).

       24.     In 2003, the FCC adopted a national do-not-call registry (“DNC”) to provide

consumers with an option to prohibit unwanted telemarketing solicitations. 2003 TCPA Order at

14034-35, ¶ 28.

       25.     The FCC rules also prohibit any person or entity from initiating a telemarketing

solicitation to any “residential telephone subscriber who has registered his or her telephone number

on the national do-not-call registry of persons who do not wish to receive telephone solicitations

that is maintained by the Federal Government.” 47 C.F.R. § 64.1200(c)(2). For purposes of this

provision of the TCPA, wireless subscribers who are registered with the national DNC are

presumed to be “residential subscribers.” 2003 TCPA Order at 14038-39, ¶ 36.

       26.     The FCC’s regulations define “advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services.” 47 C.F.R. § 64.1200(f)(1).

Whether a call is an “advertisement” depends on the content of the material. Golan v. Veritas

Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

       27.     “Telemarketing” is defined as “the initiation of a telephone call or message for the

purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,

which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12). The “telemarketing” inquiry



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focuses on the purpose of the telephone call or message, rather than its content. Golan, 788 F.3d

at 820.

          28.   The FCC has also made rulings regarding the TCPA’s vicarious liability standards

as they relate to telemarketing. As early as 1995, the FCC stated that “[c]alls placed by an agent

of the telemarketer are treated as if the telemarketer itself placed the call.” In re Rules and

Regulations Implementing the TCPA of 1991, 10 FCC Rcd. 12391, 12397 (1995).

          29.   The FCC has also clarified that vicarious liability is imposed under federal common

law principles of agency for violations of either sections 227(b) or (c) that are committed by third-

party telemarketers. Dish Network Ruling at 6580 & ¶ 18.

          30.   The TCPA provides for injunctive relief and the greater of actual damages or $500

per violation, which may be trebled where defendant’s conduct was done willfully or knowingly.

47 U.S.C. §§ 227(b)(3) and (c)(5).

                       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

          31.   Within the four years preceding the filing of this action, Brew House and/or its

agents utilized an ATDS to send text messages to the wireless telephone numbers of Plaintiff and

the putative class members.

          32.   Specifically, the hardware and software used by Brew House and/or its agents has

the capacity to generate and store random numbers, or store lists of telephone numbers, and to dial

those numbers, en masse, in an automated fashion without human intervention.

          33.   Plaintiff and the putative class never provided prior express consent, in writing or

otherwise, for Brew House to send autodialed, advertising, and/or telemarketing text messages to

their cellular telephone numbers.

          34.   Brew House (i) requires consumers or businesses to provide their telephone



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numbers as a condition of providing happy-hour goods and services, (ii) does not advise consumers

or businesses it intends to send autodialed, advertising, and/or telemarketing text messages to their

cellular telephone number, and (iii) does not obtain prior express consent, written or otherwise, to

send autodialed, advertising, and/or telemarketing text messages to the consumer’s or business’s

cellular telephone number.

       35.     When Brew House obtains the cellular telephone number of a consumer or

business, it adds it to a stored list of numbers to which Brew House and/or its agents repeatedly

send autodialed, advertising, and/or telemarketing text messages.

       36.     Brew House’s text messages are sent with equipment having the capacity to dial

numbers without human intervention, the equipment is unattended by human beings, and the

equipment does, in fact, send text messages automatically, i.e., without human intervention.

       37.     The equipment employed by Brew House and/or its agents not only has the capacity

to store or produce telephone numbers to be called using a random or sequential number generator

(and to dial such numbers), but was programmed to sequentially or randomly access stored

telephone numbers to automatically send text messages to those numbers.

       38.     The text messages sent by Brew House to Plaintiff and the putative class were made

for a commercial purpose in that they contain its brand name and location, they promote specials

and events at Brew House, and/or they encourage Plaintiff and the putative class members to visit

Brew House with their friends or associates.

       39.     Brew House’s text messages are advertisements and/or constitute telemarketing as

defined by the TCPA.

       40.     Not only does Brew House fail to obtain prior express consent before sending such

text messages, Brew House’s text messages do not provide a way of opting out of future text



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messages.

       41.     Brew House sent these text messages to Plaintiff and other putative class members

who have their telephone numbers registered with the national DNC registry.

       42.     On information and belief, many of Brew House’s text messages were sent within

12 months of one or more prior text messages, and Brew House lacks an adequate system for

preventing the transmission of numerous automated text messages to the same telephone number.

       43.     Brew House is aware that the above-described text messages are being sent to

consumers and businesses without their prior express consent, and/or to consumers and businesses

who have registered their phone numbers on the DNC registry, but Brew House willfully continues

to send them anyways.

       44.     Plaintiff and the putative class members have been substantially damaged by Brew

House’s repeated text messages 5 – their privacy was invaded; they were annoyed and

inconvenienced; the repeated text messages intruded upon their seclusion and interfered with the

exclusive use of their property; they were charged out of pocket cellular airtime minutes for the

text messages and cellular data for services related to the text message content;6 the ATDS calls


5
       See Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017) (allegations of
       “[u]nsolicited phone calls or text messages … invade the privacy and disturb the solitude of their
       recipients” and are sufficient to confer Article III standing); Susinno v. Work Out World Inc., 862
       F.3d 346 (3rd Cir. 2017) (same); Williams v. zZounds Music, L.L.C., No. 16-cv-940 (W.D. Mo.
       Feb. 28, 2017) (same) (citing Van Patten); Hunsinger v. Gordmans, Inc., No. 16-cv-162, 2016 WL
       7048895 (E.D. Mo. Dec. 5, 2016) (same).
6
       See In re Rules Implementing the Tel. Consumer Prot. Act of 1991, 23 FCC Red. 559, 562, ¶ 7
       (2008) (“wireless customers are charged for incoming calls whether they pay in advance or after
       the minutes are used.”); see also Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637 (7th Cir.
       2012) (recipients are damaged because they are charged “out of pocket” cellular airtime minutes);
       Lee v. Credit Mgmt., LP, 846 F. Supp. 2d 716, 729 (S.D. Tx. 2012) (Plaintiff’s statement that he
       pays a third-party provider for cellular phone services is sufficient to show that an individual was
       charged for the calls); Warnick v. Dish Network LLC, No. 12-cv-01952 (D. Co. Sep. 30, 2014)
       (“users of cellular telephone numbers are indeed charged for incoming calls, regardless of whether
       they incur any additional charges for such calls.”).



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intruded upon and occupied the capacity of the cellular phones of Plaintiff and the class members,

depleted and/or reduced the lifespan of their cellular phone batteries, 7 caused Plaintiff and the

class members to incur the costs of electricity to recharge their phones;8 and, on information and

belief, Brew House’s repeated text messages have caused unwanted use, damage and/or depletion

of their property, including, but not limited to, a reduction in the lifespan of their LCD screens,

speakers, vibration motors, and other hardware and/or electronic components.

                     FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF BEAL

       45.     At all times relevant hereto, Plaintiff Beal has paid a third-party provider for

cellular telephone service and cellular data service on his personal cellular telephone, which has

an area code specific to central Missouri, ending in “6785”.

       46.     Plaintiff Beal visited Brew House during a happy hour.

       47.     As a condition to providing Plaintiff with its happy-hour special prices, and at the

request of Brew House, Plaintiff was required to provide his phone number in order to obtain the

happy-hour discounts on food and drinks.

       48.     On multiple occasions in 2016 and 2017, with the most recent message occurring

on December 20, 2017, Brew House and/or its agents caused text messages to be sent,

automatically and without human intervention, to Plaintiff’s cell phone. The text messages

contained Brew House’s brand name and location, promoted specials and events at Brew House,

and/or encouraged Plaintiff to visit Brew House with his friends or associates.



7
       See e.g., Apple Inc., Battery Servicing and Recycling, http://www.apple.com/batteries/service-and-
       recycling (“All rechargeable batteries have a limited lifespan … Your own battery’s lifespan will
       vary depending on how you use your device …”).
8
       See Mey v. Got Warranty, supra fn. 2, 193 F. Supp. 3d at 645-47 (Intangible harms include
       “intrusion upon and occupation of the plaintiff’s cell phone. … [and] intrusion upon another
       person’s computerized electronic equipment …” Tangible harms, including the cost of electricity,
       “[w]hile certainly small, [are] real, and the cumulative effect could be consequential.”).

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       49.        The text messages sent by Brew House to Plaintiff were made for a commercial

purpose and are advertisements and/or constitute telemarketing as defined by the TCPA.

       50.        Brew House did not provide Plaintiff with notice that it intended to send multiple

autodialed, advertising, and/or telemarketing text messages to his cell phone; and Plaintiff never

provided express consent in writing, or otherwise, for Brew House to send such text messages to

his cell phone.

       51.        On January 30, 2009, Plaintiff registered his wireless number ending in 6785 with

the national DNC registry, and received confirmation that his DNC registration would be effective

as of February 2, 2009.

       52.        Since the effective date of Plaintiff’s registration on the national DNC registry in

2009, Brew House has sent numerous advertising and/or telemarketing text messages to Plaintiff,

many of which were within 12 months of one or more prior text messages.

                                    CLASS ACTION ALLEGATIONS

       53.        Plaintiff restates and incorporates by reference all paragraphs of this Complaint,

including all subparagraphs thereof.

       54.        As to Count I for violation of the TPCA (the “TCPA Class”), Plaintiff brings this

action on behalf of himself and on behalf of a putative class defined as:

                  All persons and entities within the United States to whom Brew
                  House (or a third party on Brew House’s behalf) sent a text message
                  to their cellular or wireless telephone, containing Brew House’s
                  name and promoting special pricing or events at Brew House, within
                  the four years predating the filing of this Complaint.

       55.        As to Count II for violation of the TPCA (the “DNC Class”), Plaintiff brings this

action on behalf of himself and on behalf of a putative class defined as:

                  All persons within the United States whose phone numbers were
                  registered on the national do-not-call registry and to whom, within


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               the four years predating the filing of the Complaint, Brew House (or
               a third party on Brew House’s behalf) sent more than one text
               message containing Brew House’s name and promoting special
               pricing or events at Brew House, within any twelve-month period.

       56.     Excluded from the above-defined classes are Brew House, any entity in which Brew

House has a controlling interest, Brew House’s officers, directors, and employees, Brew House’s

counsel, any persons or entities who have previously settled a TCPA claim with Brew House, the

Court and Court personnel, and Plaintiff’s counsel.

       57.     Numerosity – Fed. R. Civ. P. 23(a)(1). Plaintiff does not know how many

members are in the putative class, but believes them to be in the thousands, or tens of thousands.

On information and belief, the number of class members is so numerous that their individual

joinder is impracticable. The precise number of putative class members and their phone numbers

can be obtained from information and records in the possession and control of Brew House or third

parties acting on Brew House’s behalf.

       58.     Existence and Predominance of Common Questions of Law and Fact – Fed. R.

Civ. P. 23(a)(2); 23(b)(3). Common questions of law or fact exist as to all members within the

putative class and predominate over any questions solely affecting any individual member. The

predominating common legal and factual questions, each of which may also be certified under

Fed. R. Civ. P. 23(c)(4), include the following:

               (a)    Whether Brew House and/or its agents used an automatic telephone dialing

                      system to send text messages;

               (b)    Whether the equipment used by Brew House, or a third party on Brew

                      House’s behalf, has the capacity to send text messages automatically, i.e.,

                      without human intervention;

               (c)    Whether Brew House’s text messages are advertisements;


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      (d)    Whether Brew House’s text messages constitute telemarketing;

      (e)    Whether Brew House requires its customers provide their telephone

             numbers as a condition of providing goods and services;

      (f)    Whether Brew House advised Plaintiff and the class members that it

             intended to send autodialed, advertising, and/or telemarketing text messages

             to their cellular telephone numbers;

      (g)    Whether Brew House obtained the prior express consent, written or

             otherwise, to send autodialed, advertising, and/or telemarketing text

             messages to the cellular telephone numbers of Plaintiff and the class

             members;

      (h)    Whether Brew House’s text messages were sent for an emergency purpose;

      (i)    Whether Brew House’s text messages were sent willfully or knowingly;

      (j)    Whether Brew House (i) established and implemented written procedures

             to comply with the national do-not-call rules; (ii) trained its personnel in

             procedures established pursuant to the national do-not-call rules; (iii)

             maintained a list of telephone numbers Brew House may not contact; (iv)

             employed a version of the national do-not-call registry obtained from the

             administrator of the registry no more than 31 days prior to the date any call

             or text is made, and (v) maintained records documenting this process; and/or

      (k)    Whether, and to what extent, class members are entitled to equitable relief,

             including declaratory relief, a preliminary injunction, and/or permanent

             injunction.

59.   Typicality – Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims



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of the putative class members he seeks to represent. The factual and legal bases of Brew House’s

liability to Plaintiff are the same for all putative class members, i.e., (i) Brew House violated the

TCPA by using an automatic telephone dialing system to send advertising and/or telemarketing

text messages without obtaining prior express written consent in writing or otherwise, and/or (ii)

Brew House violated the TCPA by sending more than one advertising and/or telemarketing text

message within any 12-month period to phone numbers registered on the national do-not-call list.

       60.     Adequacy of Representation – Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and

adequately protect the interests of the putative class members. Plaintiff has no interests that might

conflict with the interests of the putative class members.        Plaintiff will pursue the claims

vigorously, and Plaintiff has retained counsel competent and experienced in TCPA class actions

and complex litigation.

       61.     Superiority – Fed. R. Civ. P. 23(b)(3). A class action is superior to all other

available means for the fair and efficient adjudication of this controversy. The damages or other

financial detriment suffered by individual class members is small compared with the burden and

expense that would be entailed by individual litigation of their claims against Brew House. It

would thus be virtually impossible for class members, on an individual basis, to obtain effective

redress for the wrongs done them. Furthermore, even if class members could afford such

individualized litigation, the court system could not. Individualized litigation would create the

danger of inconsistent or contradictory judgments arising from the same set of facts. Individualized

litigation would also increase the delay and expense to all parties and the court system from the

issues raised by this action.    By contrast, the class action device provides the benefits of

adjudication of these issues in a single proceeding, economies of scale, and comprehensive

supervision by a single court, and presents no unusual management difficulties under the



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circumstances here.



                                       COUNT I
                   VIOLATIONS OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       62.     Plaintiff restates and incorporates by reference all paragraphs of this Complaint,

including all subparagraphs thereof.

       63.     Brew House and/or its agents employed an ATDS to send non-emergency text

messages, automatically and without human intervention, to the cellular or wireless telephones of

Plaintiff and the members of TCPA Class.

       64.     Brew House requested, and obtained, the cellular telephone numbers of Plaintiff

and the TCPA Class members as a condition to providing its goods and services.

       65.     Brew House never obtained prior express consent in writing, or otherwise, advising

Plaintiff or the members of the TCPA Class that it intended to send autodialed, advertising, and/or

telemarketing text messages to their cellular or wireless telephones.

       66.     As a result of Brew House’s conduct and pursuant to Section 227(b)(3) of the

TCPA, Plaintiff and the TCPA Class were harmed and are entitled to a minimum of $500.00 in

damages for each unlawful text message.

       67.     Plaintiff and the TCPA Class are also entitled to an injunction against future calls.

47 U.S.C. § 227(b)(3).

       68.     Brew House’s text messages were willful and knowing, in that Brew House knew

it was obtaining and storing cellular telephone numbers and employing equipment that would send

autodialed, advertising, and/or telemarketing text messages to such numbers; Brew House intended

that such equipment would in fact send automated text messages containing its brand name and

location, and promoting specials and events at Brew House; and Brew House knew that it had not


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obtained prior express consent in writing, or otherwise, from Plaintiff or any of the putative class

member to send such text messages.

        69.      “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470

& fn. 86 (May 14, 2007) (citations omitted).

        70.      Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the TCPA Class and award $1,500 for each text message sent in violation of the

TCPA.

        WHEREFORE, Plaintiff, individually and on behalf the TCPA Class, seeks $1,500 per

violation of the TCPA; a declaration that Brew House’s telemarketing methods, acts and practices

herein violate the TCPA, 47 U.S.C. §§ 227, et seq.; an injunction prohibiting Brew House from

continuing to engage in such unlawful methods, acts, and practices; and attorneys’ fees and costs.

                                         COUNT II
              VIOLATIONS OF THE TCPA, 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2)

        71.      Plaintiff restates and incorporates by reference all paragraphs of this Complaint,

including all subparagraphs thereof.

        72.      Brew House’s text messages were made for a commercial purpose, in that they

contain its brand nameand location, they promote specials and events at Brew House, and/or they

encourage Plaintiff and the putative class members to visit Brew House with their friends or

associates.

        73.      Brew House sent more than one advertising and/or telemarketing text message

within any twelve-month period to Plaintiff and the DNC Class after their telephone numbers had

been registered on the national DNC registry for more than 31 days.


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       74.     These advertising and/or telemarketing text messages were made even though Brew

House did not obtain prior express consent in writing, or otherwise, to send such text messages to

Plaintiff or the DNC Class.

       75.     As a result of Brew House’s conduct and pursuant to Section 227(c)(5) of the

TCPA, Plaintiff and the DNC Class were harmed and are entitled to a minimum of $500.00 in

damages for each violation.

       76.     Plaintiff and the DNC Class are also entitled to an injunction against future calls.

47 U.S.C. § 227(c)(5).

       77.     On information and belief, Brew House failed to (i) establish and implement written

procedures to comply with the national do-not-call rules; (ii) train its personnel in procedures

established pursuant to the national do-not-call rules; (iii) maintain a list of telephone numbers

Brew House may not contact; (iv) employ a version of the national do-not-call registry obtained

from the administrator of the registry no more than 31 days prior to the date any call is made, and

(v) maintain records documenting this process.

       78.     On information and belief, Brew House failed to honor the national DNC registry,

failed to maintain an internal DNC list and/or failed to place the phone numbers of Plaintiff and

the DNC Class on its internal DNC list upon request, failed to provide “an interactive opt-out

mechanism” by which Plaintiff and the DNC Class could opt out of future calls, and failed to

maintain an “automated, interactive voice- and/or key press-activated opt-out mechanism” by

which Plaintiff and the DNC Class could call a separate toll-free number and add their numbers to

Brew House’s internal DNC list.

       79.     Brew House’s text messages were willful and knowing, in that Brew House knew

it was employing equipment that would send automated telemarketing text messages to telephone



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numbers even if such numbers had been registered on the national DNC list, and Brew House

intended that such equipment would in fact send automated telemarketing text messages to such

telephone numbers even if such numbers were registered on the national DNC list.

       80.     “Willful … means that the violator knew that he was doing the act in question. …

A violator need not know that his action or inaction constitutes a violation; ignorance of the law is

not a defense or mitigating circumstance.” In re Dynasty Mtg., L.L.C., 22 FCC Rcd. 9453, 9470 n.

86 (May 14, 2007) (citations omitted).

       81.     Accordingly, the Court should treble the amount of statutory damages available to

Plaintiff and the DNC Class and award $1,500 for each violation of the TCPA.

       WHEREFORE, Plaintiff, individually and on behalf the DNC Class, seeks $1,500 per

violation of the TCPA; a declaration that Brew House’s methods, acts and practices violate the

TCPA, 47 U.S.C. §§ 227, et seq.; an injunction prohibiting Brew House from continuing to engage

in such unlawful methods, acts, and practices; and attorneys’ fees and costs.

                                           JURY DEMAND

       Plaintiff demands a trial by jury of all claims that are so triable.




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Dated: February 13, 2018                   Respectfully submitted,

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                                           Attorneys for Plaintiff and all others
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